                    IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                          WINSTON-SALEM DIVISION


JOSHUA HENDERSON, individually and on           Case No. 1:25-cv-00531
behalf of all others similarly situated,

              Plaintiff,

      v.

AHOLD DELHAIZE USA SERVICES, LLC;
FOOD LION LLC; and GIANT FOOD, LLC,

              Defendants.


JON ANKUS, individually and on behalf of        Case No. 1:25-cv-00533
all others similarly situated,

               Plaintiff,

       v.

AHOLD DELHAIZE USA SERVICES, LLC,

               Defendant.


BRIAN LECLAIR, individually and on              Case No.: 1:25-cv-00578
behalf of all others similarly situated,

               Plaintiff,

       v.

AHOLD DELHAIZE USA SERVICES, LLC,

               Defendant.


  INTERVENOR BRIAN LECLAIR’S MOTION TO INTERVENE AND ESTABLISH
     SCHEDULE FOR MOTIONS TO APPOINT INTERIM CLASS COUNSEL




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       Proposed Intervenor Brian LeClair (“Intervenor”), by and through his undersigned counsel,

hereby moves this Court, pursuant to Federal Rule of Civil Procedure 24, to intervene in the case

captioned Henderson v. Ahold Delhaize USA Services, LLC, et al., Case No. 1:25-cv-00531

(M.D.N.C.) (the “Henderson Action”). If granted permission to intervene, Intervenor also

respectfully asks this Court to set a schedule by which all interested counsel may submit an

application for appointment as Interim Class Counsel pursuant to Fed. R. Civ. P. 23(g).

       There are now at least seventeen (17) cases pending in the United States District Court for

the Middle District of North Carolina arising from the data breach at Defendant Ahold Delhaize

USA Services, LLC (“Defendant”). The cases have all been filed within two weeks of each other—

between June 27, 2025 and July 11, 2025—with the filings beginning a day after Defendant began

sending notice to individuals impacted by the data breach. These cases are: Henderson v. Ahold

Delhaize USA Services, LLC, et al., Case No. 1:25-cv-00531 (M.D.N.C.) (filed June 27, 2025);

Ankus v. Ahold Delhaize USA Services, LLC, Case No. 1:25-cv-00533 (M.D.N.C.) (filed June 27,

2025); Hicks v. Ahold Delhaize USA Services, LLC, et al., Case No. 1:25-cv-00536 (M.D.N.C.)

(filed June 30, 2025); Begley v. Ahold Delhaize USA Services, LLC, et al., Case No. 1:25-cv-00546

(M.D.N.C.) (filed July 1, 2025); Marshall v. Ahold Delhaize USA Services, LLC, et al., Case No.

1:25-cv-00549 (M.D.N.C.) (filed July 1, 2025); Carter v. Ahold Delhaize USA Services, LLC, Case

No. 1:25-cv-00553 (M.D.N.C.) (filed July 2, 2025); Benson v. Ahold Delhaize USA Services, LLC,

et al., Case No. 1:25-cv-00555 (M.D.N.C.) (filed July 2, 2025); Hart v. Ahold Delhaize USA

Services, LLC, et al., Case No. 1:25-cv-00556 (M.D.N.C.) (filed July 2, 2025); Scott v. Ahold

Delhaize USA Services, LLC, Case No. 1:25-cv-00559 (M.D.N.C.) (filed July 3, 2025); Cullen v.

Ahold Delhaize USA Services, LLC, Case No. 1:25-cv-00563 (M.D.N.C.) (filed July 3, 2025);

Olbrich v. Ahold Delhaize USA Services, LLC, Case No. 1:25-cv-00564 (M.D.N.C.) (filed July 3,




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2025); Reid et al. v. Ahold Delhaize USA Services, LLC, Case No. 1:25-cv-00573 (M.D.N.C.) (filed

July 8, 2025); LeClair v. Ahold Delhaize USA Services, LLC, et al., Case No. 1:25-cv-00578

(M.D.N.C.) (filed July 9, 2025); Dougherty et al. v. Ahold Delhaize USA Services, LLC, et al.,

Case No. 1:25-cv-00583 (M.D.N.C.) (filed July 10, 2025); Sease v. Ahold Delhaize USA Services,

LLC, et al., Case No. 1:25-cv-00586 (M.D.N.C.) (filed July 10, 2025); Cainfield et al. v. Ahold

Delhaize USA Services, LLC, Case No. 1:25-cv-00585 (M.D.N.C.) (filed July 10, 2025); and

Bueno v. Ahold Delhaize USA Services, LLC, et al., Case No. 1:25-cv-00585 (M.D.N.C.) (filed

July 11, 2025). A mere three days after the first case was filed, Plaintiffs Joshua Henderson and

Jon Ankus filed their Motion to Consolidate Related Actions, Appoint Interim Lead Counsel, and

Set Briefing Schedule (the “Motion”) (ECF No. 4 in the Henderson Action).

       Intervenor agrees that consolidation of these actions is appropriate, but, for the reasons

below, the Court should hold the Henderson Plaintiffs’ motion for appointment of Interim Lead

Counsel in abeyance until consolidation is effectuated. To ensure the Court has a meaningful and

orderly opportunity to select the “applicant[s] best able to represent the interests of the class”—as

required by Fed. R. Civ. P. 23(g)(2)— the Court’s consolidation order should establish a process

with an appropriate deadline by which additional plaintiffs’ counsel may submit applications for

appointments. The selection of the best counsel to represent the plaintiff class should not turn on

a “race to the courthouse,” but rather an orderly and deliberative process which affords this Court

an opportunity to review all interested counsel’s qualifications.

                                          ARGUMENT

I.     The Court should not appoint Interim Lead Counsel until it has had a reasonable
       opportunity to review proposals from all interested plaintiffs’ counsel.

       Federal Rule of Civil Procedure 23(g)(3) explicitly provides that “[t]he court may designate

interim counsel to act on behalf of a putative class before determining whether to certify the action



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as a class action.” Id. Similarly, the Manual for Complex Litigation (“MCL”) recommends that the

Court select and authorize one or more attorneys to act on behalf of other counsel and their clients

early in complex litigation. MCL 4th § 10.22 (p. 24).1

       While Intervenor agrees that designation of Interim Lead Counsel should occur “early” in

the proceedings, this is an important decision for the Court that will determine the representation

of the entire putative class for the foreseeable future, so it should not be made hastily. The

Henderson Plaintiffs made their request for appointment on June 30, 2025, the following business

day, and a mere three days after filing their first complaint (see docket for Case No. 1:25-cv-00531

at ECF Nos. 1, 4). Since then, Defendant has yet to be served, and fifteen (15) additional actions

have been filed.

       The best approach for the Court is to grant the consolidation motion, hold the Henderson

Plaintiffs’ motion in abeyance, and set a reasonable deadline for all counsel to present their

leadership applications. The MCL suggests courts follow this procedure:

       invite submissions and suggestions from all counsel and conduct an independent
       review (usually a hearing is advisable) to ensure that counsel appointed to leading
       roles are qualified and responsible, that they will fairly and adequately represent all
       of the parties on their side, and that their charges will be reasonable.

MCL 4th § 10.22 (p. 24).

       Rule 23(g)’s considerations include: (a) work counsel has performed identifying or

investigating potential claims in the action; (b) counsel’s experience with claims of the type

asserted in the action; (c) counsel’s knowledge of the applicable law; (d) the resources that counsel

will commit to representing the class; and (e) any other matter pertinent to counsel’s ability to




1  Federal Judicial Center, Manual for Complex Litigation, Fourth (2004), available at
https://www.uscourts.gov/file/3228/download.


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fairly and adequately represent the interests of the class. Fed. R. Civ. P. 23(g)(1)(A)(i-iv) & (B);

see also MCL 4th at § 21.271 (p. 278).

        While “[n]o single factor should necessarily be determinative in a given case,” Fed. R. Civ.

P. 23 Advisory Committee Note (2003), the experience and ability of the firms to handle class

action litigation becomes crucial when all firms have undertaken independent investigations into

the underlying facts and legal claims. If more than one adequate applicant seeks to be designated,

“the court must appoint the applicant best able to represent the interests of the class.” See Fed. R.

Civ. P. 23(g)(2) (emphasis added).

        Courts have observed that “being the first to file does not create an irrebuttable presumption

of a superior investigation. If one plaintiff files first, but another plaintiff and their counsel perform

more substantial post-filing investigation and development of the claims, then the later-filing

plaintiff may have shown that they are better suited to represent the interests of the class in the

interim.” In re Vanguard Chester Funds Litig., 625 F. Supp. 3d 362, 367 (E.D. Pa. 2022) (citing

Outten v. Wilmington Trust Corp., 281 F.R.D. 193, 199 (D. Del. 2012)). Placing too much weight

on the significance of being “first-to-file” risks incentivizing a counter-productive “race to the

courthouse.” See In re Vanguard Chester Funds, 625 F. Supp. 3d at 367; see also Nowak v. Ford

Motor Co., 240 F.R.D. 355, 365 (E.D. Mich. 2006) (“Whether someone was ‘first to file’ by itself

has little to do with who is the best qualified to lead the case, and does not satisfy the requirements

of Rule 23(g). To hold otherwise would further encourage a ‘rush to the courthouse.’”).

        In this case, as with most data breach litigation, all of the complaints were filed in response

to the Defendant’s public announcement of the breach, and were filed within days of each other.

No one firm can claim to have investigated and/or developed the claims more than another firm.

For this reason, any reliance on which firm was “first to file” is of limited value when selecting




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the counsel best qualified to represent the putative class. See In re Enzo Biochem Data Sec. Litig.,

No. CV234282GRBAYS, 2023 WL 6385387, at *3 (E.D.N.Y. Sept. 29, 2023) (“Since none of the

Plaintiffs filed a claim prior to the Breach Notice, this Court places little weight on the sequence

of filings in this action.”).2

        Further, the mere fact that the counsel who filed the first two cases agreed amongst

themselves to submit a joint application should not be given significant weight by the Court in

conducting its Rule 23(g) analysis. See Newberg and Rubenstein on Class Actions, § 10:11; MCL,

4th, § 10.224 (“[d]eferring to proposals by counsel without independent examination, even those

that seem to have the concurrence of a majority of those affected, invites problems down the road



2 Courts routinely have rejected the “first to file” approach in data breach litigation and generally

have not granted prematurely-filed leadership applications, choosing instead to create a more
fulsome and orderly process to determine who is best qualified to represent the putative class. See,
e.g., Johnson v. Cencora, Inc. et al., Case No. 2:24-cv-02227 (E.D. Pa.) (in data breach case,
denying as a premature a leadership application that was filed days after the initial complaint was
filed) (ECF No. 15); Nathanson v. Yale New Haven Health Services Corp., Case No. 3:25-cv-00609
(D. Conn.) (in data breach case, denying leadership application filed the same day as the initial
complaint) (ECF No. 22); In re: MOVEit Customer Data Sec. Breach Litig., Case No. 1:23-cv-
03083 (D. Mass.) (denying as moot early filed leadership applications and creating an organized
structure for plaintiffs’ counsel to submit applications for lead counsel) (ECF Nos. 259–61);
Reichbart v. Financial Business and Consumer Solutions, Inc., Case No. 2:24-cv-01876 (E.D. Pa.)
(in a data breach case, granting motion to intervene and granting parties the opportunity to respond
to an earlier filed leadership application) (ECF No. 18); In re: Wawa, Inc. Data Sec. Litig., Case
No. 2:19-cv-06019 (E.D. Pa.) (consolidating putative class action cases arising from the Wawa
data breach, while rejecting early motions for appointment of leadership and setting a schedule for
the process of leadership applications) (ECF Nos. 9, 30, 62–63); In re: Apple Data Privacy Litig.,
Case No. 5:22-cv-07069 (N.D. Cal.) (in a data privacy case the court did not grant the first-filed
leadership application but rather ordered the parties to meet and confer on a proposed leadership
structure and appointed lead counsel from competing leadership groups after the parties were
unable to reach a consensus) (ECF Nos. 56 & 104); In re: Meta Pixel Healthcare Litig., 3:22-cv-
03580-WHO (N.D. Cal.) (in data privacy action, the court consolidated overlapping putative class
actions and then ordered plaintiffs’ counsel to brief the issue of interim class counsel) (ECF No.
28).


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if designated counsel turn out to be unwilling or unable to discharge their responsibilities

satisfactorily or if they incur excessive costs.”); Third Circuit Task Force, Report on Selection of

Counsel, 74 Temp. L. Rev. 689, 697 (2001) (“[V]oluntary agreements among lawyers may create

cartel-like groupings that favor some lawyers and disfavor others on the basis of factors that have

little to do with ability or fees, and such agreements may also result in overstaffing and padding

hours. In order to reach a ‘deal,’ lead counsel may have to ‘cut in’ so many lawyers that the

representation of the class becomes inefficient and the ultimate fee request becomes inflated.”).

        Setting a reasonable timeframe in which additional plaintiffs’ counsel may submit their

applications will not significantly delay the progress of this case, but it will give the Court a better

opportunity to fulfill its fiduciary responsibilities to the putative plaintiff class members by giving

itself time to solicit applications from, and choose, the best qualified counsel among the numerous

competent candidates with cases on file.

        WHEREFORE, Intervenor respectfully requests that the Court: (1) permit him to intervene

in the Henderson Action; and (2) establish a schedule for all parties to file applications seeking the

appointment of Interim Class Counsel pursuant to Rule 23(g).

Dated: July 16, 2025                              Respectfully submitted,

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